
BOWEN, Judge.
On his plea of guilty the defendant was convicted and sentenced to ten years’ imprisonment for the crime of sexual abuse in the first degree.
It is undisputed that the trial judge refused to follow the recommendation in the plea bargain and further refused to allow the defendant the opportunity to withdraw his plea after a timely request. This was contrary to the holdings of this Court in Griswold v. City of Enterprise, 384 So.2d 1219 (Ala.Cr.App.1980), and English v. State, 56 Ala.App. 704, 325 So.2d 211, cert. denied, 295 Ala. 401, 325 So.2d 216 (1975), and constitutes reversible error. See also Blow v. State, 49 Ala.App. 623, 274 So.2d 652 (1973).
The judgment of the Circuit Court is reversed and the cause remanded.
REVERSED AND REMANDED.
All Judges concur.
